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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
KELVION WALKER, §
Plaintiff, §
§
vs. § CIVIL ACTION NO. 3:13-CV-04896-D
§
§
AMY WILBURN, §
Defendant. §

PLAINTIFE’S SECOND AMENDED COMPLAINT

NOW COMES Kelvion Walker (“Plaintiff”), complaining of Officer Amy Wilburn

(“Defendant”) and will show unto the Court the following:
PARTIES AND SERVICE

1. Plaintiff is a citizen of the United States, the State of Texas, and a resident of
Dallas County, Texas.

2. Defendant Amy Wilburn was served with summons and has answered and
appeared in this litigation.

JURISIDCTION

3. The action arises under the Fourth, Fifth, and Fourteenth Amendments to the
United States Constitution and Title 42 U.S.C. §§ 1983 and 1988.

4, This Court has jurisdiction under these claims pursuant to Title 28 U.S.C. §§ 1331
and 1343.

VENUE
5. Venue is proper pursuant to Title 28 U.S.C. § 1391(b)(1) in that the Defendant

resides and the cause of action arises in the Northern District of Texas, Dallas Division.

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NATURE OF ACTION

6. This is an action to recover for violations of the Plaintiff's constitutional rights
and/or privileges or immunities guaranteed under the Fourth, Fifth, and Fourteenth Amendments
to the United States Constitution and Title 42 U.S.C. §§ 1983 and 1988.

CONDITIONS AND PRECEDENTS
7. All conditions precedent to jurisdiction have occurred or been complied with.
FACTS
OFFICER SHOOTS PLAINTIFF WITH HIS HANDS IN THE AIR

8. On December 9, 2013 during broad daylight, former Dallas Police Officer Amy
Wilburn shot an unarmed Plaintiff who had both his hands in the air, within seconds of
encountering him.

9. Plaintiff, a teenaged student at Grady Spruce High School, was sitting in the
passenger’s side of a vehicle driven by his friend.

10. Plaintiff states in his sworn affidavit that only a few minutes before the shooting,
he had “gotten into a [maroon-colored] car with my friend . . . No one else was with him. It was
just the two of us in the car.””!

11. Plaintiff and his friend “drove a minute or so, and then passed some marked
police units near the intersection of St. Augustine and Military Parkway.””

12. Plaintiff states that “The police did a ‘U-turn’ and got right behind us, and
[my friend] said the police were following us. They turned on their lights but not their sirens. I
told him to stop because he looked like he wasn’t going to stop.” 3

- 13. Plaintiff recalls that he was only in the vehicle for no more than “two minutes.”

 

' Exhibit “1” Affidavit of Kelvion Walker at 1 43.
* Exhibit “1” Affidavit of Kelvion Walker at 1 4 4.
> Exhibit “1” Affidavit of Kelvion Walker at 1 4.

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14. According to media accounts, Plaintiffs friend stopped the vehicle near the
intersection of Military Parkway and St. Augustine Road, in the St. Augustine Townhomes.

15. Plaintiff confirms the location, stating “They followed us and [my friend] turned
into a street inside the area where the St. Augustine Townhomes are. [He] then jumped out the
car and ran, and the car hit the curb. I remember putting my hands up.”

16. Plaintiff specifically recalls that “While I had both of my hands in the atr, I could
see the woman officer—whom I later learned was Officer Amy Wilburn—walking up to the car.
I remember her walking past the car, and I had my hands up. Then, she looked at me through
the open car door, and I looked at her and she just shot.”

17.‘ Plaintiff then saw Defendant who was in her uniform and at ail times acting under
color of law.

18. Plaintiff emphasizes that “I had both of my hands in the air the whole time.”®

19. Plaintiff emphasizes that “They [his hands] were empty, and I did not see any
weapons in the vehicle, and was not about to reach for anything or do anything to resist.”

20. “TI just remember yelling to her,” Plaintiff states, “What you shoot me for?”

21. “She came around to my side of the vehicle, and she said something like, “I’m
sorry, I’m sorry. I apologize. I didn’t try to.”

22, Plaintiff states that

Before she shot me, she had not said anything, like “freeze,” or ‘put

your hands in the air.’ She had not said anything at all. She just

looked at me, and I looked at her, and then she shot. It happened in
a few seconds or less.'”

 

* Exhibit “1” Affidavit of Kelvion Walker at 1 95.

> Exhibit “1” Affidavit of Kelvion Walker at 1 ] 6.

: Exhibit “1” Affidavit of Kelvion Walker at 1 7 7.
id.

® Exhibit “1” Affidavit of Kelvion Walker at 1 ] 8.

° Exhibit “1” Affidavit of Kelvion Walker at 17 9.

1° Exhibit “1” Affidavit of Kelvion Walker at 1 7 10.

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PROPERTY MANAGER WITNESSES OFFICER SHOOT PLAINTIFF WITH HIS
HANDS IN THE AIR

23. Scottie Smith II, a property manager and Notre Dame graduate whose vehicle was
about 20 feet away from the incident,'' described how fast the events unfolded:

I was sitting outside one of the properties that I manage, waiting on
a potential tenant and a series of events happened. First thing that
happened was that there was an unmarked white car that came
from behind me that sped past me real fast. After that car passed
me there was the red or burgundy car that... came in in front of
me. There was a young man that hopped out of the car and took
off running. The young man that was driving he took off the
running. The cop in the unmarked police car ran after him and the
two cops that were in the cars behind the burgundy car got out of
their car.

They approached the driver’s side of the burgundy car, opened
the door, and well, the lady opened the door and then shot. It
happened all within 5 seconds tops.”

24, Smith explained that the teenaged Walker’s hands were raised in a surrendering
pose the entire time, stating:
From the moment that car came into my line of sight the
passenger, the one who was shot, had his hands in the air the
entire time. . . . His hands were like this the whole time from the
moment that I saw him until the moment that he got shot.”?
25. Smith recalled that immediately after the shooting, Wilburn made eye contact
with Smith while he was seated in his car, and that her facial expression exhibited an
understanding that she had just committed a tragic error.

26. According to a police statement to WFAA, Plaintiff was unarmed throughout the

incident.

 

‘1 Smith told Dallas Morning News that he was “so close to the scene that if that bullet had missed that young man
and would have went out that window, it would have hit my car and probably would have hit me.”

Tanya Eiserer and Tristan Hallman, Man Wounded in Latest Dallas Police Shooting Had His Hands in the Air,
Witness Says, DALLAS MORNING NEWS (Dec. 10, 2013, 9:58 PM),
http:/Avww.dallasnews.com/news/crime/headlines/20 13 1210-latest-dallas-police-shooting-of-suspect-is-
questioned.ece.

" Id.

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27. Smith described just how quickly the incident unfolded. Smith, who was sitting
in his vehicle about 20 feet away from the maroon car, states that Walker could be seen clearly
and his hands were in the air:

His hands were in a surrender kind of pose. From there, from what
I saw... as soon as she opened the door, he was shot.

28. Smith continued by saying that “There’s no reason to justify that young man
getting shot, especially with him surrendering like he was.”

29. After witnessing this police shooting of an unarmed and surrendering teenager,
Smith expressed that “They’re [the police] supposed to protect and serve us but here we are,
walking around here afraid.”

30. In fact, the horrific incident so greatly impacted Smith that he has since been
scheduled to go on a police ride-along so he doesn’t “have this anti-police feel with me.”

31. At the time of the incident, Plaintiff had committed no criminal offense.

KELVION LOSES VITAL SIGNS AND REQUIRES EMERGENCY THORACTOMY

32.  Kelvion was taken by EMS to Baylor University Medical Center. BUMC
medical records are attached hereto, and incorporated by reference.'*

33. When he arrived, Dr. James Patrick Carroll, M.D., and other medical staff
determined that “it was clear by the placement of his gunshot wound” that Kelvion was going to
“need to go immediately to the operating room.”

34, | While physicians were preparing him for the surgery, Kelvion “lost his vital signs
9916

and did not have a pulse.

35. As Kelvion stated later, “The doctors told my family that I had to be resuscitated

 

4 Exhibit “2,” BUMC Medical Records of Kelvion Walker,
i5

Id. at 2.
© Id.

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from death, and that I was quite lucky to have survived.?"’

36.  Asaresult, BUMC medical staff had to then perform an emergency thoracotomy.

37. | BUMC physicians and staff made a lateral cut into the front of his chest using a
“10 blade scalpel to his chest wall and into his pleura.”"®

38. “Immediately his pericardium was opened and his heart massaged,” according to
Dr. Carroll.!?

39. Kelvion then regained a pulse and his aorta was then clamped, the doctor further
dictated in his the medical records.

40, “At this time his aorta was very empty indicating massive hemorrhage,” Dr.

Carroll stated.7°
PLAINTIFF REGAINS HIS PULSE AND UNDERGOES ABDOMINAL SURGERY

41. “Once his aorta was clamped,” Dr. Caroll stated, “we turned our attention to his

3]
abdomen.”

42. Physicians made an abdominal incision from his xiphoid all the way down to his
pubic symphysis near his groin area, There were copious amounts of blood in the abdomen.

43, Exploration of the abdominal area revealed that Kelvion had “multiple gunshot

injuries.”

44. _ Physicians had to literally staple Plaintiff's bowel, and have his colon repaired in
multiple places.

45. The medical staff further determined that Kelvion suffered injuries to the left

 

" Exhibit “1” Affidavit of Kelvion Walker at 2 { 1.
'® Exhibit “2,” at 2.

19 i a
20 i ‘d

21 I d.

22 I d

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internal iliac artery and the vein. These are the arteries and the provide blood to the legs and
lower half of the human body.

46. According to Dr. Carroll, Kelvion’s iliac vein was ligated proximally and distally
from the injury and “was shredded so bad that we did not think we could repair it
adequately.”

4], Dr. Carroll expands in greater detail about how the procedures, and the

hemorrhaging that Kelvion sustained.

48. Keivion’s postoperative diagnoses included the following:

a. Gunshot wound to the abdomen
b. Small bowel injury
c. Colon injury
d. Left internal iliac injury
e. Vein injury
f. A left internal iliac psoas hemorrhage.”
49, Because of these injuries, and associated trauma, Kelvion underwent the
following procedures:
a. Exploratory laparotomy for trauma
b. Thoractomy for trauma
c. Open cardiac massage
d. Small bowel resection
e. Color repair
f. Ligation of the internal iliac vein
g. Suturing of the internal iliac artery; and
h. Control of the sacral hemorrhage and psoas hemorrhage control.””
50. On December 10", medical staff performed a second round of procedures on

Kelvion. This second round of procedures required reopening his previous wounds, and
performing further invasive procedures on bowels, colon, and iliac artery and veins.

51. Specifically, he endured the following:

 

3 Id at 3.
*4 Td at 1.
23 Tf

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a. Reopening of recent laparotomy;

b. Abdominal washout and placement of ABTherea wound vacuum-assisted
closure;

c. Small bowel resection x1;

d. Reopening of the left thoracotomy incision with evacuation of
hemothorax.”°

52. Besides undergoing these invasive repairs of his internal organs, Kelvion received
radiographic imaging that graphically displays the remains of Wilburn’s 9 millimeter round
which was ultimately positioned above Kelvion’s right hip.

53. Following these procedures, Kelvion was placed in BUMC’s Intensive Care Unit.

54. Days later, on December 13, 2013, he had to go back into surgery for a third time
where doctors performed an “abdominal washout” and an abdominal closure of his wounds.”’

55. As depicted in photographs and videotapes, Kelvion received massive external
and internal scarring associated with these abdominal injuries as well as for the emergency
thoracotomy.

56. Kelvion’s treatment for his long-term injuries remain ongoing. Since his
operations, he has continued to complain of pain to various parts of his body, including his
abdominal area, torso, and appendages.

57. Post-operative radiographic findings of his lumbar spine further reveal that he has
suffered a presacral heterogeneous hematoma.”*

58. In reviewing films of post-operative MRI imaging taken of Kelvion’s pelvis on
January 20, 2014, Dr. Michael Lloyd determined that Kelvion still has presacral fluid from a
129

likely hematoma and has still has a bullet in the soft tissues of his right glutea

THE DALLAS POLICE DEPARTMENT CHIEF OF POLICE DAVID O. BROWN

 

** Id. at 4.

77 Id at 8,

*8 Exhibit “3,” MRI Lumbar Spine of Kelvion Walker.
? Exhibit “4,” MRI of Pelvis of Kelvion Walker.

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TERMINATED WILBURN FOR THE SHOOTING
59. On January 14, 2014, DPD released a statement on its Facebook page, stating that
All radio transmission indicated that the suspect vehicle was
occupied by multiple individuals. Wilburn transmitted over the
radio that she had observed multiple suspects passing her
location and these suspects matched the description given by
fellow officers.

60. The facts of the pursuit indicate that Wilburn never lost sight of the Maroon
vehicle, and only saw one person exit when it came to a stop.

61. DPD concluded from the circumstances that “A. reasonable officer in fear for their
safety would not have approached the vehicle” in the manner that Wilburn did in this situation.

62. On December 30, 2013, the Dallas Police Department (DPD) released a statement
regarding Officer’s Wilburn termination for her actions in the shooting of Kelvion Walker.

63. The statement detailed the incident as well as Wilburn’s violation of DPD’s
policies.

64. | DPD described the circumstances leading up to the shooting, stating: “While the
vehicle was moving slowly, the driver jumped out and began running and the passenger
remained inside the vehicle.”

65. “The other officers began to pursue the driver while Senior Corporal Wilburn ran
toward the vehicle with her weapon still holstered.”

66. “As Senior Corporal Wilburn opened the driver’s door, she appeared surprised at
the sight of the suspect sitting in the passenger seat and almost immediately drew her weapon
and fired once, striking the suspect once in the side.”.

67. “The Internal Affairs investigation concluded that Senior Corporal Wilburn

violated the Department’s Use of Deadly Force policy when she fired upon an unarmed

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person without fear or justification.”
68. “This conclusion is based upon the following:
a. “An independent witness that observed the entire shooting incident stated that the
suspect, Mr. Walker, was sitting upright and had his hands up in the air the entire time,
indicating surrender. The witness stated at no time did Mr. Walker lower his hands until
after he was shot.”
b. “No weapon or contraband was found in the location where Senior Corporal
Wilburn indicated the suspect, Mr. Walker, was hiding his hand.”
c. “At no time after the vehicle was located, did officers lose sight of the vehicle nor
broadcast that any suspect had exited the vehicle until after Officer Terry reported that
the driver fled from the vehicle on foot.”
d. “Senior Corporal Wilburn did not conduct a felony traffic stop to clear or
challenge the vehicle, which contained possibly armed suspects.”
e. “Senior Corporal Wilburn rushed the vehicle and did not maintain distance
without taking the time a reasonable officer would approaching a vehicle with armed
suspects,”
f, “Senior Corporal Wilburn approached the vehicle alone after observing Officers
Terry and Correa pursue the driver of the suspect vehicle.” |
g. “After opening the driver’s door of a still moving vehicle, Senior Corporal
Wilburn observed Mr. Walker in the passenger seat and immediately drew and fired her
weapon.”
h. “Senior Corporal Wilburn immediately holstered her weapon and did not stay on

target as a reasonable officer would with a potentially armed and dangerous suspect.”

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1. “Wilburn immediately entered the vehicle without proper cover or with her

weapon at the ready under the same circumstances that a reasonable officer in fear of

their life would approach an armed suspect.”

j. “As she arrived at the passenger door of the suspect, whom she believed to have a

weapon, she exposed herself to the possibly armed suspect without her weapon drawn

and not in a tactical manner and before the vehicle had been cleared for weapons. A

reasonable officer in fear for their safety would not have approached the vehicle in

this manner.”

k. “Mr. Walker stated that he had his hands in the air when Senior Corporal Wilburn

approached the vehicle. He stated:

1, he was not resisting and
2. he was not reaching for anything.”

69. On December 30th, Chief David Brown reiterated this point on his personal
Twitter page.

70. Chief Brown succinctly stated, “I have terminated SC Amy Wilburn today for
firing her weapon upon an unarmed person without fear or justification.”

71. Onthe same date, the Department likewise posted its own Twitter feed that stated:
“SC Amy Wilburn, #8111, was terminated for firing her weapon upon an unarmed person
without fear or justification.”

72. In an article in the Dallas Morning News on January 15, 2014, the DPD officials
once again faulted Wilburn “for failing to abide by procedures before, during and after the

shooting. They [DPD officials] said she [Wilburn] shot ‘without fear or justification.””*°

 

%° Tristan Hallman and Tanya Eiserer, Video Upsets Officers, DALLAS MORNING NEWS, January 15, 2014, at 1B,
6B.

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THE INTERNAL AFFAIRS INVESTIGATION

73. On January 14, 2014, DPD released another statement on its Facebook page,

summarizing the following Internal Affairs Investigation findings:*

a.

“All radio transmission indicated that the suspect vehicle was occupied by
multiple individuals.”

“Wilburn transmitted over the radio she had observed multiple suspects
passing her location and these suspects matched the description given by
fellow officers.”

“At no time after the vehicle was located did officers lose sight of the
vehicle, nor broadcast that any suspect had exited the vehicle until another
officer reported that the driver of the vehicle fled on foot.”

“The video shows Wilburn did not conduct a felony “high risk” traffic
stop to clear or challenge the vehicle, which reportedly contained multiple
suspects who were possibly armed.”

“Wilburn is seen running to the vehicle and not maintaining distance or
taking the time a reasonable officer would while approaching a vehicle
with armed suspects.”

“Wilburn approached the vehicle alone after two other officers began to
chase the driver of the suspect vehicle on foot.”

“Wilburn approached the vehicle without proper cover or with her weapon
at the ready position.”

“A reasonable officer in fear for their safety would not have approached a

vehicle containing possible armed suspects in this manner.”

 

3 Facebbook, Statement of Dallas Police Department January 14, 2014.
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i. “Wilburn opened the driver’s side door of the still moving vehicle,
observed Mr. Kelvion Walker in the passenger seat and immediately
drew and fired her weapon.”

j. “As she approached the passenger door where Mr. Walker was seated, she
exposed herself to a possibly armed suspect, an action which a reasonable
office in fear for their safety would not have done.”

k. “Wilburn dropped her weapon in the car before running to the
passenger side.”

1. “In the video, a second officer is seen reaching into the vehicle, removing
Wilburn’s gun and handing it to her over the roof of the car.”

m. “Wilburn then holstered her gun and failed to stay on target as a
reasonable officer would have with a potentially armed and dangerous
suspect.”

n. “Mr. Walker stated he had his hands in the air when Wilburn approached
the vehicle and was not resisting or reaching for anything.”

o. “An independent witness who observed the entire incident stated Mr.
Walker had his hands up in the air the entire time, indicating surrender,
and did not lower his hands until he was shot.”

p. “After the shooting incident, a search was made of the vehicle and no
weapons or contraband were found in the location.”

OFFICER’S WILBURN VIOLATED HER DALLAS POLICE ACADEMY TRAINING
74. Sergeant Cletus Judge, the President of the Black Police Association of Greater

Dallas (“BPA”), stated that Wilburn was one of his own students in the [Dallas police]

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academy.-”

75. He recalled that “I taught her [Wilburn] how to do a felony traffic stop.”

76. According to a public statement by the BPA, Sergeant Judge was a Defensive
Tactics Instructor for nine years at the Dallas Police Academy, and has been a member of the
Dallas Police Department for more than 26 years.*?

77. Sergeant Judge viewed the dash cam video of Wilburn’s shooting of Kelvion
Walker.

78. After reviewing the video, Sergeant Judge stated that “We make mistakes, but
once we do we need to own up to our mistakes and say, “Hey I did it wrong.’

79, He stated that “I don’t think that what I saw in the video was what we taught at
the police academy.”

80. He continued by saying “I cannot speak to what the officer was ‘feeling’ but I
do know what I saw in the video was a total disregard for the policies and procedures set in
place to handle that situation.”*

81. Speaking on DPD’s excessive force policy and the police academy’s training on
the matter, Sergeant Judge stated that “I think the policy is very clear. I haven’t received

anything from any officers [following the Kelvion Walker incident] asking me questions like,

“Hey, I’m scared, I don’t know what to do.”

 

® James Rose, Dallas Police Unions Split on Firing of Officer Who Shot Unarmed Man, KDFW Fox 4 (Jan. 10,
2014, 9:25 PM), hitp://Awww.myfoxdfw.com/story/2442 1661/dallas-police-unions-split-on-firing-of-officer-who-
shot-unarmed-man.

* Tristan Hallman, Black Police Association President Backs Department’s Firing Decisions, DALLAS MORNING
NEWS (Jan. 19, 2014, 3:03 PM), http://crimeblog.dallasnews.com/2014/01/black-police-association-president-backs-
departments-firing-decisions.html/.

“L. P. Phillips, Police Union s Take Opposing Sides in Officer Involved Shooting, CBS NEWS (Jan. 10, 2014, 1:37
PM), http://dfw.cbslocal.com/2014/01/10/police-unions-take-opposite-sides-in-officer-involved-shooting/.

* Tristan Hallman, Black Police Association President Backs Department’s Firing Decisions, DALLAS MORNING
NEws (Jan, 19, 2014, 3:03 PM), http://crimeblog.dallasnews.com/2014/0 1 /black-police-association-president-backs-
departments-firing-decisions.html/,

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82. Sergeant Judge spoke to police officers in similar situations and said that
The use of the term “I was in fear for my Life” is not a catch
all phrase that will save you when bad decisions are made. The
fear that you speak about must be “Reasonable.” The Deadly Force
Policy is very clear. Justification for the use of deadly force must
be limited to the facts reasonably apparent to the officer at the time
the officer decides to use the force. When officers are involved in
Deadly Force Confrontations thoughts about termination and
questions about employment should not be at the forefront. I urge
every officer to first, rely on your training . . °°

83. In conclusion, Sergeant Judge advised police officers to “recall your

oath of office,” stating that:
We all vowed to defend the rights and the lives of the citizens of
Dallas and our fellow officers... We acknowledged that we were

willing to be held to a higher standard and to be judged on a higher
standard,’

DASH CAM VIDEO SHOWS THAT WILBURN USED EXCESSIVE FORCE

84. A Dash Cam video released by the DPD shows the incident starting moments
before Walker’s friend turned into the St. Augustine Townhomes complex.

85. The video starts at 3:09:54 p.m. on December 9, 2013.8

86. At 3:09:55 p.m., the vehicle Walker was a passenger of is seen turning into the St.
Augustine Townhomes complex,*?

87. At 3:10:13 p.m., the driver’s side door of the vehicle Walker was occupying is
opened, and the hood of the police car is seen right behind the vehicle.*°

88. Immediately thereafter, the driver of the vehicle is seen exiting the vehicle and

 

** Tristan Hallman, Black Police Association President Backs Department’s Firing Decisions, DALLAS MORNING
NEws (Jan. 19, 2014, 3:03 PM), http://crimeblog.dallasnews.com/20 14/01 /black-police-association-president-backs-
departments-firing-decisions.html/,

"7 Td.

*8 (Dash Cam Video) at 00:00.

** Id. at 00:02.

“ Td. at 00:22.

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fleeing.”"

89. At 3:10:16 p.m., Wilburn is first seen entering the screen shot from the rear left
side of the vehicle Walker was occupying.”

90. Wilburn is seen running toward the vehicle that Walker was occupying.”

91. | Wilburn does not appear to be holding a weapon or any other object in her hands
at this time.’

92. At 3:10:16 p.m., Wilburn is seen reaching the vehicle and grabbing the driver’s
side door with her right hand.*°

93. At 3:10:18 p.m., Wilburn is seen further opening the driver’s side door, and while
still standing, positioning herself squarely in between the open door and the driver’s seat."

94, At the same time, Wilburn is looking inside the vehicle.”

95. = At 3:10:19 p.m., Wilburn, after looking inside the vehicle, is seen unholstering
her weapon and aiming it at the passenger’s seat of the vehicle.”

96. At 3:10:19 p.m., a male officer is seen entering the screen shot from the rear left
side of the vehicle, running to aid Wilburn.”

97. At 3:10:20 p.m., Wilburn is seen firing her weapon.”

98. In her sworn statements, Wilburn categorically states that shot Kelvion
“intentionally,” that this was not an accidental shooting.

BEFORE TERMINATION, CHIEF BROWN HOLDS A HEARING AND DETERMINES

 

41 Id.
2 Td at 00:25.

8 Td.

“ Td.

* Td. at 00:26.

“6 Td. at 00:27.

47 Id

“8 (Dash Cam Video) at 00:28.

° Id.

* (Dash Cam Video) at 00:29.

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THE ‘PREPONDERANCE OF THE EVIDENCE’ IS AGAINST WILBURN’S ACCOUNT

99, Following the shooting, Defendant appeared before Chief Brown, and other DPD
leaders in a disciplinary proceeding that was electronically recorded,”

100. During the hearing, Chief Brown heard statements from Internal Affairs
concerning the vantage point of Scottie Smith.

101. Indeed, the IA investigators staged a re-enactment of what Smith would have
seen, and determined his view was unobstructed, and his testimony credible.

102. Wilburn urged that she thought that the vehicle was empty, despite repeated radio
transmissions, including her own, indicating that there were multiple occupants.

103. Chief Brown repudiated her statements, categorically telling her that she violated
the Department’s felony stop procedure, which requires officers to “challenge” the car by yelling
commands or using the PA system to tell occupants--who may be hiding—-to exit the vehicle
and surrender, typically by getting on the ground or raising their hands in the air.

104. Other than her claim that she thought the vehicle was empty, Wilburn had no
answer for Chief Brown’s question regarding why she failed to do a felony stop.

105. “It’s every time you do a felony stop,” Chief Brown told her. “That would have
prevented this entire incident.”

106. Wilburn further asserted her claim that she saw only Kelvion’s /eft hand raised in
the air.

107. “But the preponderance of the evidence,” Chief Brown said, “shows that he had
both his hands up, and you shot him.”*?

108. Chief Brown further explained that the detectives from the Crimes Against

 

>! Audio Recording of Disciplinary Hearing, Wilburn Bates No. 00608.
* Id. at 20:59-21:02

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Persons Division and the Internal Affairs Division determined that Scottie Smith was a credible,

third party witness. He thus explained:

109.

Preponderance is you’ve got an independent witnesses that we believe are
credible that sees both hands up when you shoot. And CAPERS and IAD believe
that this guy doesn’t have a bone to pick with the Department—doesn’t dislike
police, has no reason to lie, and he is within 20 feet away, and credibly he sees the
whole thing unobstructed.**

Chief Brown emphatically stated that the great weight of credible evidence was

against Wilburn.

110.

Despite what you say, the preponderance is against what you say. The
preponderance is that his hands were up, and it is a violation of our deadly force
policy to shoot suspects who surrender to us with their hands up, which leaves me
no choice, but to terminate your employment from the Dallas Police
Department.”

GRAND JURY INDICTS WILBURN FOR
AGGRAVATED ASSAULT BY A PUBLIC SERVANT

Following her termination from the Dallas Police Department, the investigation

was handed over to the Dallas County District Attorneys’ Office which presented the matter to a

grand jury.

111.

On April 24, 2014, the grand jury returned a true bill of indictment that charged

her with committing against Plaintiff the First Degree Felony offense of Aggravated Assaulted

by a Public Servant, an offense under Section 22.02(b)(2)(A) of the Texas Penal Code.

112.

Media accounts indicated that Wilburn is the first such officer in more than four

decades to be so charged.

 

3 91:03-21:30
9491:31-21:50

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DEPOSITIONS OF DPD CHIEFS SHOW WILBURN WAS “RECKLESS”
A, CHIEF BROWN

113. During an all-day deposition on November 19, 2014, Chief Brown testified that
Wilburn “rushed” the Chevy Malibu with “reckless abandon.”

114. A former SWAT supervisor who participated and supervised the execution of
more than a 1,000 high risk felony warrants without firing a shot, Brown further testified that
Wilburn made a “series” of “tactical errors” that related to her not performing a proper felony
stop.

115. The chief, who has also conducted more than 700 felony stops, also expressed
concern that Wilburn somehow drop her service pistol, which landed on the front seat of the
vehicle.

116. Under cross-examination by Wilburn’s attorney, he declared “anarchy” would
result, if officers were allowed to shoot unarmed individuals.

B. ASSISTANT CHIEF LAWERENCE

117. Assistant Chief Lawrence had recommended that Wilburn be terminated for this
incident.

118. Chief Lawrence is a highly decorated member of officer who has been with the
Department since 1985 when he was named “Rookie of the Year.” Graduating first in his class
at the police academy, Chief Lawrence has a long, distinguished career that included supervisory
positions over SWAT, Homeland Security, the police academy, several patrol divisions.

119. Throughout his deposition, Chief Lawrence testified that Wilburn was not
justified in shooting Plaintiff. Indeed, he stated that what she did bordered on reckless.

120. When asked to explain how she was reckless, he elaborated:

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I really believe leading up to the event, she violated so many of our rules
and procedures that exposed herself to an unnecessary situation. I believe
at the point the shooting occurred, she just—I just don’t believe she was-
justified — I don’t believe there was reasonable belief that she had..

121. Chief Lawrence emphasized that he viewed Wilburn’s conduct in the totality—
not just at the moment when she shot the unarmed Plaintiff.

{ think the issue of her —the reckless part of it characterizes the context of
the whole event, not just the one shooting. The jumping out, running up
there, immediately engaging, not doing the things thatwe teach them to do,
not taking any kind of safety precautions, that’s—-taken as a whole..

C. DEPUTY CHIEF PEREZ

122. Deputy Chief Gloria Perez supervised the Internal Affairs Division during the
investigation of Defendant.

123. Before her recent retirement, Chief Perez had a long career with Department,
which began in 1983. Like Lawrence, she was promoted through the ranks, rising to Deputy
Chief where she had supervised multiple departments, including Internal Affairs.

124. Chief Perez emphasized that the Department trains officers not to rush into
uncertain circumstances and indiscriminately resort to deadly force. She explained:

We are taught, you know, not to rush into the vehicle, maintain a distance,
and that's what that’s talking about. In other words, could there have been
a way for the officer to pull away and try to avoid that deadly force or any
deadly force confrontation.*’

125. Like Chief Lawrence, Chief Perez thus testified that Defendant committed
multiple acts of recklessness, including rushing the vehicle, losing control of her firearm, and not

“staying on target.”

126. The Internal Affairs supervisor further testified repeatedly that she could not think

 

* Exhibit 7, Deposition of Thomas Lawrence, at 241:23-242:5
%° Id, at 242:11-16,
°’ Exhibit 8, Deposition of Gloria Perez, at 79:23-80:2

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of one instance where it would be reasonable to shoot an unarmed man with his hands raised in
the air.**
DPD DELAYED IA INVESTIGATION TO WILBURN’S BENEFIT
127. In the litigation and elsewhere, Wilburn’s proponents have criticized the Internal

Affairs investigations as rushed judgments against her.

128. Chief Brown testified completely to the contrary.

129. He stated that at his direction the Department delayed the IA investigation to
determine three things: (1) the presence of a handgun in or near the Malibu; (2) the strength and
credibility of the testimony of Scottie Smith; and (3) whether Walker could be tied to the

robbery.

130. The chief emphasized under oath that he repeatedly inquired about whether the

detectives could find a gun near Kelvion.

131. The answer never changed: there was no gun. Quite the contrary, even after
Wilburn dropped her gun in the seat next to Walker after wrongfully shooting him, the wounded

teen made no effort to seize the service weapon.

132. The evidence from Scottie Smith, the chief further stated, could not be

rationalized in Wilburns’ favor either.

133. He stated that investigators looked to see if he had a criminal history, or a bias

against the police. Emphasizing that Smith did not “waver” in his statements, he stated that the

 

°8 Td, at 231:20-232:2; 233:14-18.

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Notre Dame graduate had no criminal history, and had actually been in the “ride-along” program
with the police.
DPD FOUND NO EVIDENCE OF WALKER’S GUILT FOR CAR JACKINGS
134. Both of these questions being answered against Wilburn, the chief and the
Department still held out the possibility that a breakthrough in the car jacking case might aid

Wilburn. That did not happen either.

135. DPD interviewed several witnesses and purported co-conspirators, hoping that

one of the latter group would “flip” and incriminate Kelvion.

136. Chief Brown candidly testified that the Department came up with no evidence of
Walker’s participation in the car jackings.

137. He further confirmed that neither the complainant of the Malibu carjacking,
Jeremy Leatch, and the manager of the Diamond Shamrock who had surveillance video of the
suspects did not identify Kelvion in a photographic lineup.

138. The chief further testified that based on the Department’s investigation that there
was not even probable cause to charge Plaintiff for any of the car jackings, or even possession of
a stolen cell phone.

FACTS SHOW THAT WILBURN USED EXCESSIVE FORCE

139. Atall times relevant to his encounter with Defendant, Plaintiff was unarmed.

140. At all times relevant to his encounter with Defendant, Plaintiff did not resist
arrest.

141.  Atall times relevant to his encounter with Defendant, Plaintiff had surrendered.

142. At all times relevant to his encounter with Defendant, Plaintiff had raised his

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hands in the air.

143. At all times relevant to his encounter with Defendant, Plaintiff did not evade
arrest.

144. The Dallas Police Department did not recover any weapons in the vehicle stopped
in this action.

145. The Dallas Police Department did not recover any weapons from Plaintiff.

146. Plaintiff had not employed any force against Defendant.

147. Plaintiff suffered injuries from a 9 millimeter automatic pistol.

148. Defendant employed deadly force against Plaintiff.

149. Defendant was acting under color of law when she used force against Plaintiff.

150. Defendant knew that Plaintiff was unarmed and not resisting because he had his
hands in the air.

151. Defendant knew that Plaintiff was surrendering because he had his hands in the
air.

152. Defendant manifested conscious indifference firing at Plaintiff when he had his
hands in the air.

153. Discharging a firearm at an individual is a show of deadly force.

154, The use of deadly force in this instance was unreasonable.

155. Defendant knew or should have known that the use of deadly force in this
instance was unreasonable.

156. Defendant violated Plaintiff's Fourth Amendment rights.

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NO REASONABLE OFFICER COULD POSSIBLY BELIEVE THAT
DEFENDANT’S USE OF FORCE WAS JUSTIFIABLE
157, Wilburn’s actions of shooting Plaintiff Walker were deliberate, malicious, and
exercised with a wanton/reckless disregard for the Plaintiffs constitutional rights.
158. Fourth Amendment jurisprudence has clearly established that police officer
cannot use deadly force upon an unarmed suspect who is not showing signs of active resistance.
159. The force utilized by Wilburn was excessive and, thus, constituted an
unreasonable seizure of Piaintiff in violation of the Fourth and Fourteenth Amendments to the
United States Constitution.
160. Wilburn’s actions constituted an unlawful deprivation of Plaintiff's liberty
without due process of law in violation of the Fourteenth Amendment to the United States
Constitution.

USE OF DEADLY FORCE ON AN UNARMED PERSON IS A CLEARLY
ESTABLISHED CONSTIUTITONAL VIOLATION

161. In Tennessee v. Garner, the Supreme court held that “The use of deadly force to
prevent the escape of all felony suspects, whatever the circumstances, is constitutionally
unreasonable.”*”

162. The Court emphasized that “[T]he fact that [Plaintiff] was a suspected burglary
could not, without regard to other circumstances, automatically justify the use of deadly force.”
163. The Fifth Circuit has repeatedly relied on Tennessee v. Garner in holding that the

use of deadly force on an unarmed individual is a clearly established violation of the individual’s

Fourth Amendment rights.*!

 

” Tennessee v. Garner, A71 U.S. 1, 12 (1985) (emphasis added).

* Tennessee v. Garner, 471 U.S. at 21.

“Sanchez v. Fraley, 376 Fed. Appx. 449, 453 (Sth Cir. 2010} (unpublished); Hobart v. City of Stafford, Not
Reported in F.Supp.2d 2010 WL 3894112 (Sth Cir. 2010) (unpublished); *! Kchols v. Gardiner, No. H-11-0882,

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164. In Sanchez v. Fraley, where a police officer shot a fleeing suspect in a double
homicide after hearing on the police radio that the suspect had a gun and had forcibly attempted
to enter somebody’s house, the Fifth Circuit looked to Tennessee v. Garner once again, and

stated that

[I]t was clearly established well before that date [August 23, 2007]
that “deadly force violates the Fourth Amendment unless ‘the
officer has probable cause to believe that the suspect poses a threat
of serious physical harm, either to the officer or to others.”

165. In Sanchez v. Fraley, the police officer had further testified that the suspect was
digging in his waistband and pointing his hands under his shirt, as though aiming a weapon.”

166. In Davis v. Montgomery, The United States District Court for the Southern
District of Texas (Houston Division), also relied in Tennessee v. Garner in stating:

The Supreme Court has held that “it is unreasonable for an officer
to “seize an unarmed, nondangerous suspect by shooting him
dead.”

[T]he principle stated above, that ‘a police officer may not seize an
unarmed, nondangerous suspect by shooting him dead” has long
been clearly established.

Fifth Circuit Jaw is clear that “an exercise of force that is
reasonable at one moment can become unreasonable in the next if
the justification for the use of force has ceased.™

167. The Houston Court continued to rely on Garner in Hobart y. City of Stafford, in
making decision regarding qualified immunity, and stated that
In 2009, when [Plaintiff's] shooting death occurred, it was clearly
established that “ ‘deadly force violates the Fourth Amendment

unless the officer has probable cause to believe that the suspect
poses a threat of serious physical harm, either to the officer or to

 

2013 WL 6243736, slip op. (S.D. Tex. 2013) (unpublished); Davis v. Montgomery Cniy.,  F.Supp.2d__, No.
H:07-505, 2009 WIL 1226904 (S.D. Tex. 2009) (unpublished).

®? Sanchez v. Fraley, 376 Fed. Appx. 449, 453 (5th Cir. 2010) (unpublished) (emphasis in original).

* Sanchez v. Fraley, 379 Fed. Appx. 449 at 452.

4 Davis v. Montgomery Cnty., __ F.Supp.2d __, No. H:07-505, 2009 WL 1226904 at *4-5 (S.D. Tex. 2009)
(unpublished).
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others.”

168. More recently, the Southern District Court once again relied on the above

principle in Echols v. Gardiner, holding that
[Plaintiff] was unarmed at the time and posed no threat to [the
officer]. Under this version of the facts, it was clearly established
at the time of the incident that [the officer’s] shooting violated the
Fourth Amendment.

169. In Echols v. Gardiner, a courtesy officer was involved in a domestic disturbance
situation at an apartment complex, and was confronted with a noncompliant Plaintiff who
refused the officer’s to get on the ground and attempted to flee the situation by getting away
from the officer’s grasp and heading for his car.”

PLAINTIFF SUFFERS SEVERE LONG-TERM INJURIES
A. ORTHOPEDIC IMPAIRMENT

170. Besides almost dying and undergoing three surgeries at Baylor Hospital, Plaintiff
has endured severe, permanent injuries.

171. Orthopedist Dr. Huntly Chapman determined that Kelvion’s left thigh was eight
centimeters less in circumference than his right. He cited the Guides to the Evaluation of
Permanent Impairment, American Medical Association Fourth Edition which he said indicates
that “impairments from leg muscle atrophy” with three centimeters of difference in
circumference 1s severe.

172. He further diagnosed Kelvion with “peripheral nerve impairment of the sensory

femoral nerve.”

173. Based on these impairments, Dr. Chapman concluded that Kelvion had a 9%

 

® Hobart v. City of Stafford, __ F.Supp.2d___, No. 4:09-cv-3332, 2010 WL 3894112 at *8 (S.D. Tex. 2010)
(unpublished).

% Echols v. Gardiner, No. H-11-0882, 2013 WL 6243736, slip op. at *18 (S.D. Tex. 2013) (unpublished).

* Echols v. Gardiner, 2013 WL 6243736 at *2.

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whole person impairment, but he noted that this impairment rating excluded sexual functioning.
174. “This does not include the sexual dysfunction,” Dr. Chapman stated, “which
would require an urologist to render an opinion. Should an urologist render an opinion, | would
be happy to combine that value with the 9% for the wasted dysesthethetic leg.”
B. UROLOGICAL IMPAIRMENT
175. Dr. Paul Turek determined that Kelvion suffered a residual left femoral
neuropraxia after the shooting that precludes him from ejaculating. The Standford-educated
urologist explained the cause of the injury:
This is likely due to neurologic impairment, and most probably involves
the afferent pelvic nerves in the pelvis. Presumably, since this event has
occurred after the December injury it is related to nerve damage from the

bullet, the blast path or the bleeding and surgical manipulation required to
treat him.

176. Dr. Turek outlined a complex treatment plan that included the prescription of

testosterone, surgical sperm retrieval techniques, and the use of rectal probe electrojaculation to

harvest sperm.

177. At the time of this amended pleading, Kelvion’s urological impairment had not

been submitted to Dr. Chapman.
C. NEUROLOGICAL AND PSYCHOLOGICAL IMPAIRMENT
178. The trauma of this near death experience cannot be overstated.

179. More than one of Kelvion’s physicians noted that Kelvion suffered the following
mental injuries:

Depression
Nervousness
Personality change
Post-Traumatic Stress
Impotence

Numbness and tingling

mo Re rp

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g. Sleeplessness
h. Visual changes

180. Kelvion continues to receive medical treatment, and will require life time medical
monitoring of all of his different conditions—-some which may require subsequent surgical
interventions.

WILBURN’S PAST EXPERIENCE WITH JUDGMENT ERRORS

181. Wilburn was involved in another Dallas Police Department controversy last year,
where officers responded to a domestic violence call about 50 minutes after the victim, Deanna
Cook, had called 911,

182. In that case, the officer’s delayed response resulted in the victim’s death by being
drowned in her own bath tub.

183. A copy of the Second Amended Complaint brought by the victim’s family
chronicles the series of missteps that resulted in the officer’s inappropriate and slow response:

Officers Julie Menchaca and Amy Wilburn, who were in the field,
originally volunteered to check into Deanna Cook’s call. While
supposedly en route to Ms. Cook’s residence, Officers Menchaca
and Wilburn stopped to investigate a residential burglary alarm call
on Earnhardt Way that was a false alarm.

Also, while en route to Ms. Cook’s residence, Officers Menchaca
and Wilburn stopped at a 7-11 convenience store to make a
personal purchase.

Prior to arriving at Ms. Cook’s residence, Officers Menchaca and
Wilburn also took time out to complete disposition comments for a
previous call that had been resolved.

Prior to arriving at Ms. Cook’s residence, Officers Menchaca and
Wilburn were made aware that Ms. Cook was screaming for help
and that a scuffle could be heard in the background of her 9-1-1
call.

184. In addition to the officer’s late response to a domestic violence 911 call, the
officers also failed to investigate the matter upon arriving at the victim’s house:
Officers Menchaca and Wilburn simply knocked on the door and

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had someone call Ms. Cook’s cellular phone. Not surprisingly, the
call went to voicemail. [S]hortly after they arrived, Officers
Menchaca and Wilburn left, without performing any additional
investigation of Ms. Cook’s whereabouts, her residence, or her 9-
1-1 call.

185. In their Answer to an Amended Complaint in that case, Officers Wilburn and
Menchaca admitted to the following allegations in the Cook family’s Second Amended
Complaint:

a. Officers Julia Menchaca and Amy Wilburn, who were in the field,
originally volunteered to check into Deanna Cook’s call;

b. Prior to arriving at Ms. Cook’s residence, Officers Menchaca and Wilburn
were made aware that Ms. Cook was screaming for help and that a scuffle
could be heard in the background of her 9-1-1 call;

c. Nearly 50 minutes after Deanna Cook’s 11-minute 9-1-1 call was placed,
Officers Menchaca and Wilburn finally arrived at Ms. Cook’s southeast
Dallas house.

d. While at Ms. Cook’s residence, Officers Menchaca and Wilburn did not
go around to the rear of Ms. Cook’s residence, did not peek through all of
Ms. Cook’s windows, .. . and never attempted to forcibly gain entry into
the home.

CAUSES OF ACTION
VIOLATION OF CONSTITUTIONAL RIGHTS
186. The factual allegations contained in all of the paragraphs of this Second Amended

Complaint are hereby incorporated and re-alleged for all purposes and incorporated herein with

the same force and effect as if set forth verbatim.

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187.

Wilburn intentionally, knowingly, and recklessly shot Kelvion Waiker with her

firearm, despite having no legitimate reasons for doing so.

188.
serious bodily injury.

189.

The force used by Defendant was recklessly excessive and caused Plaintiff

Defendant Wilburn’s exercise of established policies and customs violated

Plaintiffs’ clearly established rights under the United States Constitution to:

a. freedom from unreasonable seizure;

i,
il.
iil.

by shooting Plaintiff who was unarmed;
by shooting Plaintiff who was not resisting;
by shooting Plaintiff who was surrendering;

iv. by shooting Plaintiff who had his hands raised in the air;
v. by shooting Plaintiff who had committed no criminal offense;
vi. by shooting Plaintiff who had not evaded arrest; and
vii. by shooting Plaintiff who had surrendered to a show of lawful

authority.

b. freedom from the use of unreasonable, unnecessary, and excessive force;

i.
ii.
ili.

by shooting Plaintiff who was unarmed;
by shooting Plaintiff who was not resisting;
by shooting Plaintiff who was surrendering;

iv. by shooting Plaintiff who had his hands raised in the air;
v. by shooting Plaintiff who had committed no criminal offense;
vi. by shooting Plaintiff who had not evaded arrest; and

Vil.

by shooting Plaintiff who had surrendered to a show of lawful
authority.

c. and the right to medical care for injuries received while in custody;

i.

il.
iid.

190.

by not calling 911 or emergency medical services after shooting
Plaintiff;

by delaying contacting EMS after shooting Plaintiff; and

by handcuffing Plaintiff after he had been shot.

Alternatively, Defendant Wilburn violated established policies and customs of the

Dallas Police Department, and likewise violated Plaintiffs’ clearly established rights under the

United States Constitution to:

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d. freedom from unreasonable seizure;

i. by shooting Plaintiff who was unarmed;
ii. by shooting Plaintiff who was not resisting;
iii. by shooting Plaintiff who had committed no criminal offense;
iv. by shooting Plaintiff who had not evaded arrest;
v. by shooting Plaintiff who had surrendered to a show of lawful
authority.

e. freedom from the use of unreasonable, unnecessary, and excessive force;

i. by shooting Plaintiff who was unarmed;
ii. by shooting Plaintiff who was not resisting;
iii. by shooting Plaintiff who had committed no criminal offense;
iv. by shooting Plaintiff who had not evaded arrest;
v. by shooting Plaintiff who had surrendered to a show of lawful
authority.

f. and the right to medical care for injuries received while in custody;

i. by not calling 911 or emergency medical services after shooting
Plaintiff;
ii. by delaying contacting EMS after shooting Plaintiff; and
iii. by handcuffing Plaintiff after he had been shot.

DAMAGES
191. As stated above, Plaintiff sustained severe traumatic injuries, as a direct result of
the actions and/or omissions of the Defendant described hereinabove.
192. Plaintiff's long-term medical conditions presently remain unknown, but he
continues to seek treatment for his severe, painful and disfiguring injuries. |
193. Plaintiffrequests the following relief:

a. All reasonable and necessary attorneys’ fees incurred by or on behalf of
Plaintiff;

All reasonable and necessary costs incurred in pursuit of this suit;
Inconvenience;

$1,000,000 (one million dollars) for mental anguish in the past;

$500,000 (five hundred thousand dollars) for mental anguish in the future;
$500,000 (five hundred thousand dollars) for disfigurement in the past;
$500,000 (five hundred thousand dollars) Disfigurement in the future;

More than $203,000 (two hundred three thousand dollars) in reasonable

Pe mean &

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medical care and expenses in the past.

i. These expenses were incurred by Plaintiff and such charges are reasonable
and were usual and customary charges for such services in Dallas County,
Texas;

j. More than $45,000 (forty-five thousand dollars) in reasonable and necessary
medical care and expenses which will in all reasonable probability be incurred
in the future;

k. Loss of earnings in the past;

l. Loss of earning capacity which will, in all probability, be incurred in the
future;

m. $1,500,000 (one million five hundred thousand dollars) in physical pain and
suffering in the past;

n. $750,000 (seven hundred fifty thousand dollars) in physical pain and
suffering in the future; .

o. $1,500,000 (one million five hundred thousand) in physical impairment in the
past; and

p. $2,000,000 (two million five hundred thousand dollars) in physical
impairment which, in all reasonable probability, will be suffered in the future.

194. Thus, at present, Kelvion Walker seeks some $8,498,000 in actual damages for

his near death, grisly disfigurement, and permanent debilitating, and humiliating injuries.
EXEMPLARY DAMAGES

195. Plaintiff expressly incorporates and reallages the facts and statements previously
made,

196. Plaintiff would further show that the acts and omissions of Wilburn complained
of herein were committed with intentionally and/or with reckless indifference to the protected
rights of the Plaintiff.

197. The Dallas Police Department has already established that Wilburn violated the
Department’s use of force policy in multiple ways.

198. Three separate chiefs of the Department have stated that Wilburn acted recklessly,
or with “reckless abandon.”

199. Wilburn gave a sworn statement that she shot Plaintiff intentionally.

200. The Dallas Police Department has already determined by a preponderance of the

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evidence that Wilburn shot Walker without justification.

201. Wilburn’s own use of force instructor has concluded that she acted unreasonably.

202. Wilburn dropped her gun in the vehicle, showing no control of a per se deadly
weapon.

203. Wilburn’s shooting of Kelvion Walker is not the only incident in her career where
she has shown fatal misjudgment.

204. The law is absolutely clear that deadly force is not to be employed simply because
a felon is fleeing, In the present instance, Plaintiff did not flee, but had his hands raised in the
air.

205. The Department further determined that Wilburn had no fear at the time of the
shooting.

206. Asa result of this incident, a Dallas County grand jury has indicted Wilburn for
the First Degree Felony offense of Aggravated Assaulted by a Public Servant, an offense under
Section 22.02(b)(2)(A) of the Texas Penal Code.

207. In order to punish said Defendant for engaging in unlawful vicious attacks, and to
deter such actions and/or omissions in the future, Plaintiff also seeks recovery of exemplary
damage of not less than $2 million, but not greater than $17 million.

ATTORNEYS’ FEES

208. Plaintiff is further entitled to receive his reasonable attorneys’ fees pursuant to 42
U.S.C, § 1988,

JURY DEMAND

209. Plaintiff respectfully demands that this action be tried before a jury.

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CONCLUSION
210. In conclusion, Plaintiff, KELVION WLAKER, respectfully urges that the
Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,
judgment be entered for the Plaintiff against the Defendant for damages in an amount within the
jurisdictional limits of the Court; exemplary damages, attorneys’ fees; together with pre- and
post-judgment interest as allowed by law; costs of court; and such other further relief to which
the Plaintiff may be entitled at law or in equity.

Respectfully submitted,

By:  /s/ Geoff J. Henley
Geoff J. Henley
Texas Bar No. 00798253
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ATTORNEYS FOR PLAINTIFF
KELVION WALKER

Plaintiff's Second Amended Complaint Page 34 of 35
Kelvion Walker v. Amy Wilburn
Case 3:13-cv-04896-K Document 30 Filed 12/18/14 Page 35of58 PagelD 311

CERTIFICATE OF SERVICE

I hereby certify that on November 26, 2014, I electronically submitted the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of Texas, using
the CM/EFC system which will send notification to all attorneys of record who are registered for
electronic notice.

/s/ Geoff J. Henley

Geoff J. Henley

Plaintiffs Second Amended Complaint Page 35 of 35
Kelvion Walker v. Amy Wilburn
Case 3:13-cv-04896-K Document 30 Filed 12/18/14 Page 36 of 58 PagelD 312

AFFIDAVIT OF KELVION WALKER

Came before me, the undersigned authority, the following who swore an oath, and said
the following:

“My name is Kelvion Walker, I am above the age of 18, and am a student at Spruce High
Scheol, My date of birth is August 15, 1994. Iam of sound mind and have never been
convicted of a felony, and I am, in ali respects , competent to provide sworn testimony. Pursuant
to 28 U.S.C. Section 1746, I declare under penalty of perjury that all of the matters stated herein
are within my personal knowledge.

On December 9, 2013 during the afternoon, Dallas Police Officer Amy Wilburn shot me
while I was unarmed and had both of my hands in the air.

Only a couple of minutes before, I had gotten into a car with my friend, Reginald
“Reggie” Robertson. No one else was with him. It was just the two of us in the car. I had not
known that the car had been stolen in an armed robbery.

We drove a minute or so, and then passed some marked police units near the intersection
of St. Augustine and Military Parkway. The police did 2 “U-turn” and got right behind us, and
Reggie said the police were following us. They turned on their lights but not their sirens. I told
him fo stop because he looked like he wasn’t going to stop.

They followed us and Reggie turned onto a street inside the area where the St. Augustine
Townhomes are. Reggie then jumped out the car and ran, and the car hit the curb. I remember
putting my hands up,

While I had both of my hands in the air, I could see the woman officer—whomn I later
learned was Officer Amy Wilburn—walking up to the car. I remember her walking past the car,
and Thad my hands up. Then, she looked at me through the open car door, and I looked at her
and she just shot.

1 had both of nry hands in the air the whole time. They were empty, and I did not see any
weapons in the vehicle, and was not about to reach for anything or do anything to resist.

I Just rememiber yelling to her, “What you shoot me for?”

She came around to my side of the vehicle, and she said something like, “I’m sorry, Pm
sorry, ] apologize. I didn’t try to.”
Before she shot me, she had not said anything, like “freeze,” or “put your hands in the
air.” She had not said anything at all. She just looked at me, and I looked at her, and then she -
shot It had happened in Gil seconds ot less,

Af davit of Kelvion Walker Initials
1[Pege

 
Case 3:13-cv-04896-K Document 30 Filed 12/18/14 Page 37 of 58 PagelD 313

After the shooting, it seemed like there was a delay before I was taking to the hospital,
but I had lost consciousness at some point, I was in the LC.U. at Baylor for several days, and
had to have three surgeries on my chest, stomach and small intestines. The photographs that are
attached, and marked as Exhibits 1, 2, and 3 are of me while I was in the hospital after the
surgeries, The photographs fairly and accurately depict the scars related to my injuries. The
doctors told my family that I had to be resuscitated from death, and that I was quite lucky te have
survived,

I cannot believe Officer Wilburn did this. I have since heard that supposedly she and the
other police officers were investigating some kind of auto theft ring, and that Reggie and two
juveniles had been charged, but I do not see how any of that would allow her to shoot me while I
had my hands in the air, aod had surrendered. I had every intention of cooperating with her. She
just looked at me inside the car, and shot.”

AFFIANT SAID NOTHING FURTHER.

QL Lasow. YA a Abix

KELVION WALKER

Signed and sworn before me, the undersigned notary on this the 26™ day of December,
2013.

4, Barbar’

Notary Public, State df Texas

  
 

  
   

Notary Public, Stata of Toxas
My Commission Expire

e) BURLIE ELIZABETH HANSON [4
¥ January 19, 2076

    
   

Affidavit of Kelvion Walker g in Initials "
2}/Pages ™
Case 3:13-cv-04896-K Do

  

    
   
     

_ PATIENT NAME: WALKER, KELVION LEON
MRN/ ACCOUNT #: 493045 / 61124433
DOB /AGE/SEX: OBeiea4719¥/M -

   

 

DATE OF SURGERY:
p2/ 09/2915

PREOPERATIVE DIAGNOSIS:
Gunshot wound to the abdomen.

POSTOPERATIVE DIAGNOSES;
1. Gunashet wound to the abdoman.
3. Small bowel injury.
. Colon irpury-
. heft internal iliac injury.
vein injury.

LR im i

PROCEDURES PERFORMED:
1. Exploratory laparotomy for tiauma.
3, Thexarotomy for trauma.

Qpen cardiac massage -

Suali bowel resection.

Colon repair.

. Ligation of inteznal iliac vein.

, Saturing of internal ilise artery.

my sh ia a

SURGEON:
Janes Cayroll, M.D..
Brandon Rabeler, M.D.

RESIDENT:
Dr. Rebacta Weddle,

 

ANESTHESTA PROVIDER:
Dr. Bure, (Rl MD

ANESTHESIA: ;
General sndgtracheal aniasthesie-

COMPLICATIONS :
None. ,

ESTIMATED BLOOD LOSS:
3000 mi

TCALUT PNPURATIL UY
cument 30 File

. Contrel of sacral hemorrhage and pscad hemorrhage

Tex Aleg iorsol

d 12/18

Mdir £0 2002 Woeuorn

ADMIT DATE: 12/09/2013
OICTATION DATE/TIME: 01/04/2014 02:50 PM
PROVIDER, WEDDLE, REBECCA J. {R)

s. A lett. internal iliac psoas henerzhage.

contre. .

roguy uur

 

TRANSCRIPTION DATE/TIME: 14/2014 3:50 PM

 

WALKER, KELVION LEGON
Enterprise Patan

Medical Record #: 435046
Operative Rep

iD: 929738
f Ancounk ws 81 124433

EXHIBIT

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Page 1 of 3
. HEALTH INFORMATION. Fax 2440187397 ;
Case 3:13-cv-04896-K Dot Eee Bicd PHB d Page 33.or58 Pagel 315

   
 
 

   
     

PATIENT NAME: WALKER, KELVIONLEON - ADMIT DATE: 42/09/2073
MRN | ACCOUNT #: 433045 767124433 DICTATION DATE/TIME: 07/04/2014 02:50 PM
DOB /AGE/ SEX: 08/t5/1aga/ 197 /M PROVIDER: WEDDLE, REBECCA J. (R)

   

TISSUE REMOVED:
Small bowel.

JMPLANTS :
None

DRAIN: .
ABThexs wound VAC is the drain.
Also two left-sided chest tubes were placed for drainage.

PESCRIPTION OF PROCEDURE: . ‘

the patient is a 19-year-old male wie wag shot by the police on 12/09/2013. He
was brought into the BUMC emergency room, At the time he was brought in it wae
clear by the placement of hig guushet wound, that he was going to need to go
inmediately to the operating xoom. He was also moderately. hypotensive in the
traums bay and therefore taken emergentiy to the opérating room. In the
operating toom he wag prepped and draped in the usual sberile fashion. In the
process of prepping and draping him he lost his vital signs and did not have a
pulse. At this time, an emergency ‘chomacotomy wag started. An anterolateral
cut wag made in hie chest. This was taken down using just a 10 Dlade scalpel
te his chest wall and inte his plevre. Upon entering the chest there was some
minimal bicod that was released. Immediately his pericardium was opened and
his heart massaged. He regained a pulse and his gortsa was then clamp. 3lvnt
dissection was weed to get around his sorta in his chest. Aortic clamp was
placed. At this time hia aorta wag very empty indicating massive hemorrhage.
Once hig aorka was clamped, we turned our attention to Bis abdomen. We made an
abdominal incision from the xiphoid down to the pubic syuphysia. Thie was
opened using ¢lectrovautery, down to the level of the fascix. The fascia wae
opened widely. There was copious amounts of blood in the abdomen and all @
quadrants were packed off. There was aise very large retroperitoneal hematoma.
‘At. this time we allowed anesthesia to catch wp with transfusion, which they
were able to de. Qnce he started being a little bit more stabie we started
yenoving packs and exploring the abdomen.

Upon munning the emall ‘powgl it was noted that he had multiple guashet wound
injuries, and a plese of amall, bowel was reagected and put back together using
GIA 75 staplers. Following this mesentevie defect was closed using 3-0 silk.
Moving onwerd wa ran the cole; in its entirety. There was a hole in the
Sescending colon close te the sigmoid area. A 2 layered Glosure was completed
here using 3-9 Wieryl follewed by & layer of 3-0 silk. The colon was then
mobilized medially as there was a large retroperitoneal hematoma identified.
Qace we did the left side viseeral cotation we deuld see there wae
copigud bleeding et the Level of the iliacs. Upon further dissection this was
the left internal iliac artezy and vein where he had 2 injuries, Coatrol of

 

 

WALKER, KELVION LEON
. Entamprise Patient 1: 929725
: Medica # e3apas | Account #; 61124433,
TRANSCRIPTION DATEVTIME: 14/2014 3:59 PM Opervtive Report Page 2 of 3

 

 

 
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PATIENT NAME; WALKER, KELVION LEON ADMIT DATE: 1209/2013

 

we could repair if adequately. The internal iliac artery also had a defect

was tummed over to the psoas where there wag quite a bit of hemorrhage as

Multiple sheets of Surgicel es well ag Arista were used to pack off this

the cperating xoom and fairly hypotensive for some period of time and the

care unit for resuscitation and bring him back to the operating rogh at

Rabeler were present. during ell portions of the procedure and all] the
instrument and sponge counts at the eud of the procedure were correct. The
plan will be fox him to return to the operating room once He is warmed and
vesugcitated. . ‘

Dictated by: REBECCA J. {R) WEDRLE, MD

tareviaewed

 

Uamee Patrick Carroll, M.D.

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ay tap yf i “rah ? ; :

MRN / ASCOUNT #: 493045 / 67124433 DICTATION DATE/TIME: 01/04/2074 02:59 PM
DOB/AGE/SEX: 08/15/1984 / 187 / Mi PROVIDER: WEDDLE, REBECCA... (R}

 

these was quickly gained, and the iliac vein was ligated borh proximal Ly and
Gistally to the area of injury. This wae shredded go bad that we did net think

which was s#wn closed using 4-0 Prolene. Gnce this wag controlled attention

well. The psoas 4c well as towards the sacral area near the iliac axctery and
vein were still having quite a bit of bleeding. Thies was packed off. tightly.

aren. Control was gained with packing, At this time the patient had beén in

thought wag that we had now gained contrel of all of his bowel injuries and
_gonttel of his vascular injuries, amd that we should take him to the intensive

‘another time. With this being said, an ABThera VAC waa placed on the abdominal
wound. In the left chest two left-gided chest tubes were placed, ona anterior
and one posterior. This was whipstitch clesed using silk suture. He was quite
eosy during this process as he wad cold ad coagulopathic at this time. Once
the cheet was clesed and the abdowen was closed with the ABTherya, he was taken
up te the intensive care unit for Further tesuscitation, Dx. Carroll and Dr.

 

 

 

WALKER, KELVION LEON
: Enterprise Patlent 10: 929725

Medical Record @ 433045 / Account #: 61124833
TRANSCRIPTION DATE/TIME: 1/4/2014 3.50 PM Operative Report

 

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Case 3:13-cv-04896-K Document 20 Filed 12/18/14 Page 41'ot 58, Pagelb 414

  

   

PATIENT NAME: XYZWALKER, KELVION LEON ADMIT DATE: 12/09/2013
MRN SAGCOUNT # 439048 (61124433 DICTATION DATE/TIME: 12/14/2013 02-40 AM
DOB/AGE/ SEX: 06/15/1904/ 19Y/M PROVIDER: HAMILTON, EMMA G. (R}

 

DATE OF OPERATION:
12/10/2023

PREOPERATIVE DIAGNOSES: :

1. Oper abdomen. gunshot wound to the abdemen with small bowel injury. color
injury, left internal iliac artery and vein injury. sacral and psoas
hemorrhages - .

2. Left haemothorax.

POSTOPERATIVE DIAGNOSIS:

1. Open abdomen, guaghet wound to the abdomen with owall bowel injury. selon
qujury, left internal iliac artery and vedn injury, sacral and psoas
hemorrhages . .

2. Left hewethorax-

PROCEDURES :

1. Reopening of r@cent laparotomy.

> Abdominal washout and placement of ABThera wound vacuum-aedisted closure.
3, Swall bowel regection x2. ,

4. Reopening o£ left thoracotomy incision with evacuation of hemethorax.

ATTENDING STAFP:
James P, Carvall, Md

RESIDENTS:
1. Exma Hamilton, MD
2. Stephanie Joyce, MP

BNESTHESTA: .
General endotracheal anesthecia.

ESTIMATED BLOOD LOSS:
Approximately 3290 mL of clotted blood was removed from the patient’s leit
chest, Minimal new blood lose. .

TISSUBS REMOVED:
Small bowel -

DRAINS :
1. ABThera wound VAC.
3. Two 36-French left-gided cheat tubes.

FINDINGS:
The patient with approximately 300 mi of old clotted bleed in the leit chest -

1. a oy s. . |

XYZWALKER, KELVIQN LEON
Enterprise Patiant (0: 929725
Madical Record #: 433045 / Account #: 81124433
TRANSCRIPTION DATE/TIME: 12/1/2013 3:15 AM Operative Report Page i of 4

 

 

 

 

 
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PATIENT NAME: XYZWALKER, KELVION LEON ADMIT DATE: 12/09/2043
MRN/ ACCOUNT # 433045 / 67124433 DICTATION DATE/TIME: 12/11/2073 02:40 AM

DOB TAGE! SEX: OBSM9G4/18Y/M - PROVIDER: HAMILTON, EMMA C. (R)

     

The patient's abdomen was notable for bowel discontinuity, with no obvious
signs of intestinal leakage. This was resected and a primary anastomosis
performed. the left colon repair wag intact. There was still small amount of
oozing frem the presacral area. which had Surgicel snow and Evicel placed. on
it with adequate contrel of bleeding. No bleeding noted from along the
internal iliac vein or artery. No leakage of methylene blue into the abdomen
after adtiuistxation. . .

INMICATIONS : . a
Thig is @ 18-year-old male who sustained a gunshot wound to the abdomen on
12/09/2013. He was taken to the operating room and underwent exploratory
laparotomy and left thoracotomy, where he was found to have a left colon
injury, which was repaired primarily; multiple small bowel] injuries, which
wexs yYeseacted and bowel was left in discontinuity. The patient had an injury
to ‘the left internal iliac artery andé vein, which were ligated and repaired
priwaxily. The pataent also had a moderate amount of sacral hemorrhage and
bleeding from the left psoas muscle. Multiple packe were left in place in this
‘area and an ABThera wound VAC was plated. The patient had required a left
thoracetory fer crossclamping of the aorta during the initial procedure. He
hag since developed a left hemotherax, which needs evacuation. The risks and
penefite of the procedure were explained to the patient's family, whe agrees
to proceed.

PROCEDURE IN DSTAIL: .

The patient was trangperted from the ICU te the operating room. The patient
was alveady intubated and further anesthetized with general anesthasia. The
ABThera wound VAC was removed and the patient's chest and abdomen prepped and
draped in sterile etandaxd style. The abdomen was inspected. There were a
moderate anount of adhesions among the smxl] bowel. These were gently broken
up using warm ircigation and blunt digeection. There were two sponges packed
in the abdomen along the aorta and IVC. These were carefully removed and the
aorta dnd IVC inspected. There was no active bleeding noted. We than directed
our attention towards the left iliac artery repair. Thexe was no blegding
noted, Tre left iliac vein where it had been ligated was visible. We were not
able to identify the left ureter, and it was near the area where the Left
‘Jliag artery and vein had been. injured, so we proceed with injection of
mnathylene biue. There was no noted leakage of methylene blue inte the abdomen
after the urine in the Foley bag hed turned light green. We then directed our
attention to the right pelvic sidewall. The right ureter waa intact and there
was no injury noted te the right iliac artery or vein. Theres were 2 packs in
gbhe pelvia dew! along the sacral plexus, which ware carefully removed. There
wag still @ glow centinueus ooze zlong the pregacral venous plexus. A piece of
Surgicel snow was packed inte Che cavity and Hvicel placed om top. Arigta
powder was then placed on top of this was adequate comkyol of the cozing. We
then proceeded to run the small bowel from the ligament of treite to the LT.

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RYZWALKER, KELVION LEON

Enterprise Patent ID: 929725
_ Medigal Record # 438068 / Account # 91124433
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PATIENT NAME: XYZWALKER, KELVION LEON ADMIT DATE: 1249/2073

MRN / ACCOUNT # 433045 / 61124433 DICTATION DATETIME: 12/11/2013 02:40 AM

    

DOH/ AGE / SEX: beatae f 19 / M PROVIDER: HAMILTON, EMMA C. (R}

There was an ayea of discontinuity, which bad bean ligated using the LigaSure
device, and there was no seepage of intestinal contents noted, There war a
moderate-size shall bowel hematoma involving grenter than 50% of the owe]
wall just distal to the.drea that had been resected. There were ny other
injuries noted to the small bowel. We then proceeded with a small bowel
vesection. The amall bows] just proximal to the area that had been resected
with the LigaGure device was then divided using a GIA 75 stapler. The small
powel just distal to the acea of the hematoma was then yvesected using & GIA 75
stapler. A side-to-#ide anti-parellel anastomosis war then performed weing the
GIR 75 stepler. The resulting enterostomy was cloged using « TA-45 mm stapler.
BR crotch gtiteh was placed uéing a 3-0 ailk, and.the mesentery defect was
closed vsing a running 3-0 Vieryl suture. We then inspected. the colon. There
were no injuries noted te the ascending ox ttatsverse colon. The left
descending colon hart avidence of a primary repair, which was intagt. There
were yo other injuries noted to the-sigmoid colon or xectum. At this time, we.
then completed a washout with a total of ¢ liters of ixxigation. We then —
directed our attention to the patient's Left thoracotomy site. The suturee
ware removed and the incision reopened. There was there was a copious amount
af old clotted blood, which was evacuated. The chest was then irrigated with 3
iirers of wazm normal saline. There was a small amount of coming along the
etarnum, which wae controlled with placing medium size clips. A piece of
Surgicel anow was then packed up inte thie area. There was still a sLow
continuous gowe, and the patient was mildly gsoagulepathic at this point. We
replaced the 26-French chest tubes with another set of 36-Prench chest tubes
through the sane theraccstomy incision end the ribs were xeapproaimated using
interrupted #2 Vieryl. The muscle was reapproeximated in 2 layers aging 2-0
Vieryl suture. The skin was then ceapproximated useing a runing deep dexmal
3-0 Vieryl sutucea and staples were placed on top. An ABThera wound VAC was
then placed over the abdomen and attached te the suctioned device at a -125
“mug corntinueus suction with a good geal. The chest tubes were connected to &
Pleux-evac at -120 om of water continuous suction with a good seal. A dressing
‘was applied to. the thoracotomy ingigion site, and the chest tubes. The patient
remained intubated and was transported back up to the ICU in stable condition.
Dr. Cartoll was present for the entixe case. ,

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Dittated by: SMMA C. (R) HAMILTON, MD

XYZWALKER, KELVION LEON

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Pags 3 of 4

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. ADMIT DATE: 12/09/2013
DICTATION DATE/TIME: 12/41/2013 02:40 AM
PROVIDER; HAMILTON, EMMA G. (R)

_ PATIENT NAME: XYZWALKER, KELVION LEON
MBN / ACCOUNT # 433045 / 61124433
HOB /AGE/ SEX: 08/15/1994 /19¥/M

Signed by -
James Patrick Carroll.

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M.D. 22/14/2025 05:50

 

 

vanes patrick Carrell, M.D.

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Enterpiise Patient i: 920725 .
Medical Ravord # 433025 / Auoount #: 61124433
Operative Report .

 

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Case 3:13-cv-04896-K. Document 30 Filed 12/18/14 Page 45 of 58 PagelD 321

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PATIENT NAME: XYZWALKER, KELVION LEON ADMIT DATE: 1209/2013

DICTATION DATE/TIME: 12/43/2013 05:55 PM

MBN / ACCOUNT #: 433045 / 61124425 -
PROVIDER: Carroll, James Patrick

DOB SAGE / SEX: 08/15/1994 / 18¥ 7M

       

 

DATE OF QRERATION:
12/13/2013

PREOPERATIVE DTAGHOSIS:
Gunehot wound to the abdomen,

POSTOPERATIVE DIAGNOSIS:
Gunshet wound to the sbdomen.

OPERATIONS PERFORMED: -
1. Abdominal washout.
2. Adtiominal closure.

SURGEON:
Jawes P. Carroll, MD-

 

ANESTHESIA:
General endotracheal anesthetic by Dr. Simon.

INDICATION:

The patient is 4 19-year-old wale whe sustained a gunshot wound to his abdomen
with loss of vital signs. He received an emergent thoracotomy and exploratory
laparotomy fox injuries to his left internal iliac artery and vein. The
patient had previously widergoneé 3 laparotomles and now presents for a washout
aud closure. , ,

Risks and benefits of the procedure were explained to the patient and his
Father. All questions were answered, and they requested we proceed with the
operation: ‘

OPERATIVE COURSE IN DETAIL:

The patient wag placed supine on the operating room table. Rfter adequate
general endotrathesl anesthesia Was establighed, attention was placed on the
abdomen, which was prepoed anc draped ih the etandard surgical fashion.
Previously placed Vac dressing was removed. ‘Ths abdomen was then explored and
copiously irrigated. Hemostasie was noted. The NG tube was felt and was
present within the ‘Stomach. The abdomen wad then closed in layers. The fascia
was closed waing a #1 xunning FDS suture, fyllewed by skin closure using skin
staples. All sponge and in#trument coumts were corxect at thea end of the case.

The patient tolerated tha procedure well-

 

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XYZWALKER, KELVION LEGN
Enterprise Patient iD: 928725.
Mudical Record #: 483045 / Account # 61124435
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PATIENT NAME: XYZWALKER, KELVION LEON . ADMIT DATE: 12/09/2013
MRA SAGCOUNT & 433045 181424433 DICTATION DATE/TIME: 1 2413/2013 05:55 PM:
OOB/ AGE / SEX: 08/15/1994 / q9V¥/M PROVIDER: Carroll, James Patrick
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Jamas Patrick Carroll, M.D. 12/14/2013 05:58
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Janes, Patrick Carreli, M.D. ~
fats /TLHILSS/CSDaCHI32 762243
D: 12/13/2013 05:55 P T: 12/13/2013 09:59 PF Work Type Entered:
FWALKER, KELVION LEON
. Entertrise Patient ID: 429725
Medien! Renord #: 4533045 / Account #. g1 124433 ;
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PRIME

Diagnostic Imaging

This facility is Accredited by tha Anerican College of Radiolagy (CA) for OF, MAL and Nuclear Medicina

 

 

| (214) 341-8770
412345 Faitlicrest Plaza Dn, Suite EGO, Dallas, FX 75250 Pax (244) I41- 1603
PATIENT NAME: ” WALKER, KELVION
DATE OF SERVICE: 1/20/2014
CHART#: 152453
DATE OF BIRTH: 8/13/1988

REFERRING PHYSICIAN: CAWTHON, DEBORAH DO

MAI LUMBAR SPINE
CLINICAL HISTORY: Low back pain. .
TECHMIQUE: Noncontrast magnetle résdnerice Images ofthe lumbar spine are chtained,
FINBINGS: The conus and cauda equina nerve roots have an unremarkable appserance, Presacral
heterogeneous collection as described on MAI pelvis study performed on sama date, most typical of a
hematoma. ;
Lumbar allgnmant and lordesis are preserved,
Level-by-level evaluation: |
LE-S7: 2mm broad-based central protrugion. No canal or foramina! stenosis,
L4-L5; 1-2 mm focal central protruaion. No canal or Tofaminal stenasle,
L3-L4; No canal or braminal etenosie.
L2-L3; No canal or foramina! stenosis.
Li-L2: No canal or foraminal stenosis,
Ti2-Lt; No canal or foramina! stenosis.
IMPRESSION:
1. CENTRAL PROTRUSION AT L5-51 AND L4-L5, NO GANAL OR FORAMINAL STENOSIS,
2. PRESACRAL HETEROGENEOUS COLLECTION, MOST LIKELY REPRESENTATIVE OF A
HEMATOMA. STERILITY CANNOT BE ASSESSED ON THE BASIS OF THIS EXAM,

MICHAEL LLOYD, ML.
ne D:1/21/201 4 9:08:10 AM T: 1/21/2014 T1316 AM
PRELIMINARY

EXHIBIT

3

 
    
Case 3:13-cv-04896-K Document 30 Filed 12/18/14 Page 48 of 58 PagelD 324
ee aan ne Aeeme Oo AM PARE ULAGNOSTIC IMAGING PAGE 2 OF 4

*
PRIME
Diagno pica Pmaging :

 

This facility in Acoredted by the American Collage of Radiology (ACR) for OF, MBI, and Nuclear MMediohe

 

i (214) 341-8776
12540 Hillesest Plaza Dr, Suite F100, Dallas, TX75239 Fax (214) WL1603
PATIENT NAME: WALKER, KELVION
DATE OF SERVICE: 1202019
CHARTIE 752453
DATE OF BIRTH: SNS Hea

REFERRING PHYSICIAN: | GAWFHON, DEBORAH DO

MAi PELVIS
CLINIGAL HISTORY; Polvic osin.
TECHNIQUE: Noncontrast magnetic resonances images ofthe pelvia are obtainod,

FINDINGS: Thera Is a presacral inttinsioally Ti hyperintense fluid collection with hatenogensous T2 signal
that measures 7.3% 2.8% 3.6 om. The algnal characteristics are typical of a harnatoma.

-No palvic fracture #8 Idantified. No avascular neoraals or fracture of the hips. The 1 joints, os puble, and
Sacrum ere unremerkabla, -

No lebral teer is Identified, Regional mystendinous anatomy Unramarkeble, Builet In the fight gluteal soft
dssues,

IMPRESSION;

1, PRESACRAL FLUID COLLECTION, MOST TYPICAL OF A HEMATOMA, STEAILITY CANNOT BE
ASSESSED ON THE BASIS OF IMAGING.

2, BULLET IN THE RIGHT @LUTEAL SOFT TISSUES,
8. NO EVIDENCE OF FRACTURE OR AVASGULAR NECROSIS,

MICHAEL LLOYD, MD,
na D:1/21/201 4 6:08:46 AM T: 1/21/2014 tte AM-
PRELIMINARY

EXHIBIT

   
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Chief David OC. Brown Disciplines Employees

 

 

Entail or Phone Password
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(1) Keep me looped in Forgot your password?

 

Chief David O. Brown Disciplines Employees
December 50, 2013 at [aap

Dallas Pollea Chief David 0. Brown discldlined the fallowing officars during hearings this

 

 

 

 

 

morning.

1. 914 Call Taker Moises Limon, #107904, was Invelved in the following Incident: Hotes by Dallas Patlce Department
All Notas

On May 73, 2013, 914 Cull Taker Limon was amasted for Driving While Intoxicated (DWO in le

the City of Carrotton, Mr. Limen did not notify his supervisors of hla DWI eres, An intemal Get Notes vie RSS

Affairs investigation concluded that Mr. Liman drove a vebicla whlie under the influence of Embed Post

 

aloohol and falled te raport this arragt to hig supervisors,

877 Gad Teker Linon was terminated for his actions, He was hired In July of 2007 and was
assigned to the Communications Services Section,

2, Senior Corporal Frank Della, #7103, was Involved int the following incident:

On September 7, 2013, Senior Corporal Della walle off-duty attended a concert during witleh °
_ time he consumed alcoholic beverages, After the concert, he picked up a parking barittade
in the parking lol and ihrew H, striking a parked vehicle. The owners of the vahiele, s mala
arid female, observed the Incident as they approached thelr vehicle. A verbal argument
ensued balween Senlor Corporal Della and the ownera, atavhich time Senlor Corporal Della
grabbed tha femaie by the shoulders, Senior Corporal Della produced his badge and
Identified himself as-a police officar to the couple and then walked away while tha femate
called 81, While the couple followed him through the parking Jot, Senior Comorat Della
stopped and took a physical stance towards the couple fo fight, The confrontatlan drew the
attention of security officers, One of ihe security officers stated that he had to physically
restraln Senior Corporal Della from fighting the male. Shortly after a supervisor anived at the
scene, Senior Comore! Della stopped cooperating with the investigation, Multiple officars and
witnesses stated ihat Senior Corporal Della was Intoxicated ar under the influence of alcohol.
He was clfered a field sobriety test which he refused,

Senior Corporal Della wae arrested for Public Intoxication, Class B Misdemeanor Criminal
Mischief, and Class G Misdemeanor Assault. An Internal Affaire Investigation concluded that
on September 7, 2013, Senior Corporal Della was intoxicated while In public view, engaged in
adverse conduct when he caused damage to another person's vehicle, made offensive

” gentact with another person, and was invelved In a disturbanca whiah reaulted in a police
responga,

Senior Corporat Della was terminated for his actions, He was hired In.August of 1084 and
was assigned to the North Cantral Patrol Diigion.

3. Senior Corporal James Reynokls, #7452, was involved in the following Incident:

On May 29, 2013, Senicr Corporal Raynalds was on a meal break with his reoruil ata
lcafion near a shopping center where an off-duty officer was working. The off-duty officer
requested assistance aver the pallce radio for help with a combative prisoner. Several
officers marked eriroute to the location in emergency status with lights and sirens activated.

A supervisor who was monitoring the Automated Vehicle Locater map during the incident
noticed Senlor Corpora! Reynalds, whe was approximately three tenths of a mite from the
location, did not respond to the request for assistance. The recrull officer with Senior
Corporal Reynolds stated that he heard the call and believed the officer calling for assistance
soured stressed and exciied, but ha was tald by Senlor Comoral Reynolds that they ware
not going to respond fo the call. Senior Corporal Reynolds told tha supervisor that he did not
hear anything on the radio to indicate the call was an assist officer, and since other officers —
were responding, he told his recruit that they would not respond. An Iniernal Affalrs a. EXHIBIT
{investigation concluded that Senior Corporal Reynelds failad to sid a fellow officer.

 

 

 

https://www.facebook,com/notes/dallas-police-departinent/chief-david-o-brown-disciplinese... 1/3/2014
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Chief David O, Brown Disciplines Employees

Senior Corporal Raynolds was demoted to the rank of police officer for his actions. He was
hired in September of 1998 and was assigned fe ihe Southwest Patrol Division.

4. Senior Gorporal Willlam Wesley, #5923, was involved In the following Incident:

On July 28, 2018, Senior Corporal Wesiey became Involved in a disturbance with Ais live-in
ginfriend. During the disturbance 2 physical Aght enaued and Senior Corporal Wasley siruck
his girlfriend in the head with his hands, Grand Prairia police responded to a 214 call al the
location from Senior Corporal Wesley's giriftiend. Thairinvestigaiion resutted In-the arrest of
Senlor Corporal Wesley for Family Viclance Assault, Class A Misdemeanor. An Internal
Adgalra invastigation concluded that Serlor Corporal Wesley engaged In adverse conduct
when he was Invalved in 2 domestic disturbance which resulted in a police response,

Senlor Corporal Wesley was termingted for hia actions. He was hired in Novemberof 19a8
and wae secigned to the Southwest Patrol Division.

& Serueant Rafael Rodriguez, #7254, was invelved In the fallewing Incident:

On Novernber 13, 2043, Sergeant Rodriguez became involved In a disturbance withhis . ,
estranged wife al her residence, Sergear{ Rodfiguez confronted his estranged wife and @
mate individual as thay walked out of the garage. A verbal altercation ensued atwhich $me
Sergeant Rodriguez went io his valilele and retrieved a handgun, Sergeant Redriguaz
displayed tha weapon in a threatening manner and made threats towards hia astranged wife.
Grapevine polica responded and subsequently made a Deadly Conduct charge against .
Sergeant Rodriguez. On December 19, 2013, Sergeant Rodriguez was arrested, An Internal
Affairs investigation contiuded that Sergeant Recriguez ergaged in adverse conduct whan
he was involved In a disturbance whieh resulted ina police response and subsequent arrest
for Deadly Conduct. The Investigation also conciuded that Sergeard Rodriguez was armed
with a weapon which he was not qualled to carry.

Sergeant Rodriguez was terriinaled for his actions. He was hired in August 1995 and was
assigned to the Northwest Patrol Division,

8 Senlor Gomoral Amy Wilburn, #641414, was involved In the following Incident:

On December 9, 2014, Senior Corporal Wilbur and other officers drove behind a vahiicle that
they had been told wae taken. in an earier tobbery by armed suspecis who had flred shots at
the owner of Ihe vehiole, While the vehicle was moving slowly, the diiver jumped out and
began running and the passenger remained inside the vehicla, The other officers began to
pursue the driver whila Senior Corporal Wilburn ran toward the vehicle with her weapon still -
holstered. As Senior Corporal Wilburn epened the driver's deor, she appeared surprised at
the sight of the suspect sitting In the passetiger seat and almost immediately drew her
waapon and fred once, airking the suspect once In the sia. The Intemal Affairs
investigation concluded that Senior Corporal Wilbum viglaled the Department's Use of
Deadly Force policy when she fired upon an unanmed person without fear or fusilfication.

. This conclusion is based upon the following:

Aq independant witness that observed tha entire shooting incident stated that the
suspect, Mr. Walker, was siliing upright and had his hands up ih the air lhe entin time,
indicating surrender. The witness stated at no Ome did Mr. Walker lower his hands until
after he wae shot,

¥ No weapon or contraband was found in the location where Senior Corporal Wilburn
indicated the suspect, Mr. Walker, was hiding nla hand.

= Atno ilme after the vehicle was focated, did offlcars lose sight of the vehlole nor
broadcast that any suspect had exdted the vahicie untl Officer Tery reported that ihe
driver ied from the vehinis on fool

Senior Corporal Wilburn did not conduct a falorty traffle stop to clear or challenge the
vehicle, which contained possibly armed suspects.

 

 

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Senior Gorporal Wilburn rushed (he veblole and did not matsialn distance without faking
the dime a reagonaile officer would approaching a vehicle with-armed suspects.

Senfor Corporal Wilburn approached the vehicle alone after observing Officers Tary
and Correa pursue the driver of the suspect vehicle,

After opening the driver's door af a still moving vehicle, Senior Corporal Wilburn
observed Mr, Walker in the passenger seat and immediately drew and fired her
weapon.

‘

Senior Corporal Wilburn Inmnedtatety hoistered her weapon and did not stay on target
88 @ feasonable officer would with a potentialy armed and dangercus suspect.

Officer Wilburn immediately entered ihe vehicle without proper cover or with her
weapon al the ready under the same circumstances that a reasonable officer In fear of
their life would approach an armed suspect,

As she arrived af the passenger door of the suspect, whom she beliaved to have a
weapon, she exposed hersel! to tha possibly acmad suspect without her weapon drawn
and not (nh a lactical manner and before the vehicle had been cleared for weapons. A
Teasonable officer in faar for the safely would not have approaohed the veblola in this
Manner.

Mir. Walker slated that he had his hands in the air when Sentor Corporal Wiburn
approached fhe venicle, He stated he was not resisileg and was net reacking for
anything. : . .

cf

Senlor Corporal Wilburn was terminated for her actions. She wae hired in September 2001
and was assigned to tha Southeast Patrol Division.

Under civil service rules, all enmployees have tha right to appeal thelr-ciseipiine.

As In ail officer invelved shooting Incidents, thls case will be referred to the Daflas County
District Atomey's offics for presentation to the Grand Jury.

 

 

 

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Case 3:13-cv-04896-K Document 30 Filed 12/18/14 Page 52 o0f58 PagelD 328
The below video is dash cam footage... - Dallas Police Department | Facebook

 

 

 

Email or Phone . Piswrd |
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im Keep me logged In Forgot your nasswerd?
Dallar Police Department - 26,744 like this , Faceloak @ 2044
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‘The below video Is dash cam footage tetrfaved fram Officer Amy Whburn's patrol vehicle which was

recorded during tha stogting incident In which she was Involved at 9900 Military Parkway on
December 9th, 2013.

‘The following account ls summarized from the Internal Affairs investigation,

All radio transmissions Indicated that the suspext vehicle was occupied by multiofe individuals. Officer
Wilburn transmitted over the radic she had observed multipfe suspects passing her focation and these
suspechs matched the description given by fallow officers,

At no time after the vehicla wes focated did officers jose sight of the vehicle, nor broadcast that any
suspect had exited the vehicle until another officer reported that the driver of the vehicle fled on foat.
The video shows Officer Wilburn did not canduct a félony “high risk” traffle step to clear ar challenge
the vehicle, whith reportedly contained multiple suspects whe were possibly armed. Officer Wilbum Is
seen running to tha vehicle and not maintaining distance or taking the He a reasonable officer would
while approaching a vehicle with armed suspects.

Officer Wilburn approached the vehicle alone after two other officers began to chase the driver of the
| Suspect vehicle on foot. Officer Wilburn approached the vehicle without proper cover er with her
weapon at the ready position, A reasonable officer In fear for thelr safety would not have approached
a vehicle containing posslble armed suspects In this manner, Officer Wilburn opened the driver's sida
door of the stil moving vehicle, observed Mr. Kelvion Walker Ic the passenger saat and immediately
Grew and flred’her weapon, As she approached the passenger door where Mr, Walker was seated, she
‘exposed herself to a possibly armed suspect, an action which a reasonable officer in fear far thelr
safely weuld not have done.

Officer Wibuin dropped her weapon In the car before running f& the passenger side, Jn the video, &
second officer Is seen reaching Into the vehicle, removing Officer Wilbum’s gun and handing ft to her
over thé roof of the car, Officar Wilburn then hotstered her gurt and failed to stay on target a4 a
reasonable officer would have with w potentlally armed and dangerous suspect, Mr Walker stated he
had Ns hands. In the alr when Officer Wilburn approached the vehicle and was aot rasisting nor”
reaching for anything, An Independent witness who observed the entire Incident stated Mr, Walker
had his hanes up in the afr the entire time, Indicating surrender, and did mot lower his hands untl-he
was shot, After the shooting incident, a search was made of the vehicle and po weapons or
contraband were found In the focation.

officer Involved Shooting
Bev yortube.con

 

EXHIBIT

 

 

  

https://www.facebook.com/DallasPD/posts/221470458038454?stream_ref10 1/20/2014
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISTON

KELVION WALKER,
Plaintiff,
VS. 3:13-CV-04896-D

AMY WILBURN,

Meer eee ee ee

Defendant.

VIDEOTAPED ORAL DEPOSITION OF
THOMAS LAWRENCE

SEPTEMBER 23, 2014

VIDEOTAPED ORAL DEPOSITION OF THOMAS LAWRENCE,
produced as a witness at the instance of the Plaintiff,
and duly sworn, was taken in the above-styled and
numbered cause on the 23rd day of September, 2014, from
9:27 a.m. to 4:26 p.m., before Jill Allen, CSR in and
for the State of Texas, reported by machine shorthand,
at the Dallas City Attorney's Office, 1500 Marilla
Street, in the City of Dallas, County of Dallas, State
of Texas, pursuant to Notice and the Federal Rules of

Civil Procedure.

 

 

 

 
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Q4:

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THOMAS LAWRENCE - 9/23/2014

 

 

MR. BRANDT: Let me take a real quick
break. I think I'm going to pass the witness after
that.

VIDEOGRAPHER: We're off the record. The
time is 4:07 p.m.

(Recess taken 4:07-4:09.)

VIDEOGRAPHER: We're back on the record.
The time is 4:09 p.m.

MR. BRANDT: Thank you for your time, and
I'll pass the witness at this time.

FURTHER EXAMINATION
BY MR. HENLEY:
Q. Assistant Chief, I appreciate your patience.
I do have some guestions to ask you. I hope we can move
this along pretty quickly.

During Counsel's examination of you, you
expressed an opinion about Officer Wilburn's conduct
bordering on reckless. Do you remember that?

A. Uh-huh.

Q. Specifically, what conduct did you refer to as
being reckless?

A. I think she had a -- I'll do the same thing
before I break it in two pieces. I really believe
leading up to the event, she violated so many of our

rules and procedures that exposed herself to an

 

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THOMAS LAWRENCE -— 9/23/2014

 

unnecessary situation.

I believe at the point the shooting occurred,
she just -- I just don't believe she was justified —- I
don't believe there was reasonable belief that she
had -- let me word this the right way. I don't think
she was reasonably in fear to the level that we expect a
reasonable officer to be.

QO. And how would you characterize that as
reckless?

MR. BRANDT: Cbjection, form.

A. IT think the issue of her -- the reckiess part
of it characterizes the context of the whole event, not
just the one shooting. The jumping out, running up
there, immediately engaging, not doing the things that
we teach them to do, not taking any kind of safety
precautions, that's -- taken as a whole, I believe that
was just a -- in terms of -- I'm not using the term
reckless in terms of the legal term you're used to; in
reasonable terms the way police act, that she acted
recklessly as far as police conduct would be concerned.
I believe it was kind of careless disregard for the
rules and procedures and stuff.

Q. You had pointed out an instance where an
officer had shot an unarmed man but that unarmed man was

actually choking the officer.

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

KELVION WALKER ~
Plaintift

Ve ; pe S CAUSE NO. 3-13-cv-04836-D
‘§ (Judge Fitzwater)

AMY WILBURN
- Defendant

SRE REE EERE RR IEEE II ERIK ITO IRE ARE
ORAL AND ‘VIDEOTAPED DEPOSITION OF
GLORIA PEREZ

September 29, 2014

ER REE RR IK KE RARER KK EK ERIK EKER ERK EEE KR EKER

ORAL AND VIDEOTAPED DEPOSITION OF
GLORIA PEREZ, produced as a witness at the instance of
the Defendant, and duly sworn, was taken in the above _
styled and numbered cause on the 29th day of September,
2014, From 11:05 a.m. to 5:08 p-n., before Jill Johnson, —
CSR in and for the State of Texas, reported by machine
shorthand, at the Dallas City Attorney's Office, 1500
Marilla Street, Dallas, Dallas County, Texas, pursuant
to the Federal Rules of Civil Procedure and the

provisions stated on the record or attached hereto.

 

 

 

 
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GLORIA PEREZ

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different things that were done.
'Q. ‘Okay. That's talking about the factual
findings that supported -- -
A. Right. And that's what I read.
Q. Okay. But let's -- the facts -- what I'm
trying to get at is what portions of the policy were

violated that you found. And you've told me that these

are the facts, starting on the bottom of Page 24, these

are the facts that support your belief that there were

policy violations; right? -

A. Um-hum.

QO. Yes?

A. Um-hum. Correct. Yes.

Qo. So you've only listed two policy violations

for me. One is the reasonably perceives and the
reasonable alternatives.

A. Okay. Under C, "Avoiding the Use of Deadly
Force," it has: At a point when an officer should
reasonably perceive the potential exists that deadly
force may be an outcome, that officer must use
reasonable alternatives if time and opportunities
permit.

We are taught, you know, not to rush into
the vehicle, maintain a distance, and that's what that's

talking about. In other words, could there have been a

 

 

Jill Johnson, CSR
972-633-9675
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GLORIA PEREZ

 

 

way for the officer to pull away and try to avoid that
deadly force or any deadly force confrontation.

Also on the use of force, the
authorization to use the force, we will only use deadiy

force to protect ourselves and another person from

imminent death or serious bodily injury. When she

rushed into that vehicle, approached that vehicle, the

radio communications that came before that: said that
there were armed suspects involved. So rushing into-
that wags something that we don't do, according to the
use of force policy.

Q. Anything else?

A. No, sir.
Q. Okay. Now, I'm not sure if I've got this
right, but let me -- so you've got four things, four

violations of the deadly force policy; right? One had
to do with reasonably perceives. That's on Page 23. If
it's easier to look --

A. Yes.

Q. -~ on page -- if you look at Exhibit 20, it
might be easier for you to manage.

A. Okay -

Bhat :
thatis the one, one of the --

mm ri, m
ue. UKay. Lita Na

the first violation is reasonably perceived. The second

one you talked about was reasonable alternatives.

 

Jill Johnson, CSR
972-633-9675

 
